
USCA1 Opinion

	










                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                                     
                                 ____________________

        No. 96-1019

                                   SHAWN M. FLYNN,

                                Plaintiff, Appellant,

                                          v.

                                  RAYTHEON COMPANY,

                                 Defendant, Appellee.

                                                     
                                 ____________________


                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. William G. Young, U.S. District Judge]
                                             ___________________

                                                     
                                 ____________________


                                        Before

                                 Cyr, Circuit Judge,

                      Coffin and Bownes, Senior Circuit Judges.
                                         _____________________

                                                     
                                 ____________________



             Laurence E. Sweeney for appellant.
             ___________________
             Douglas T. Schwartz, with whom David C. Casey and Peckham, Lobel,
             ___________________            ______________     _______________
        Casey, Prince &amp; Tye were on brief for appellee.
        ___________________


                                                     
                                 ____________________

                                   August 19, 1996
                                                     
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                    Per  Curiam.   Plaintiff  Shawn  Flynn  appeals from  a
                    Per  Curiam
                    ___________

          summary judgment order dismissing his Americans With Disabilities

          Act ("ADA") claim against Raytheon Company for refusing to rehire

          him after he had completed his fourth inpatient treatment program

          for alcoholism.  Following careful  review of the entire  record,

          we affirm the district court judgment.

                    Over   approximately  nine  years,  Flynn  compiled  an

          employment   record   marred   repeatedly    by   alcohol-related

          absenteeism and  tardiness, interspersed with  numerous sanctions

          and  renewed  opportunities   to  meet  Raytheon's  minimum   job

          requirements.  Raytheon  finally fired him for  reporting to work

          while  under the influence of alcohol, in direct violation of its

          work  rules.  See also 42 U.S.C.    12114(c)(1), (2), (4).  After
                        ___ ____

          completing   the  fourth   inpatient  treatment   program,  Flynn

          presented Raytheon  with a  progress report from  his supervising

          physician,  proposed to  submit  to random  alcohol testing,  and

          requested reinstatement.  When Raytheon declined, Flynn filed the

          present action.   The  district court ultimately  granted summary

          judgment for Raytheon, and Flynn appealed.

                    Flynn does  not contend that Raytheon  violated the ADA

          by  firing him,  nor could  he  do so  successfully.   See id.   
                                                                 ___ ___

          12114(c)(4) (acknowledging that employer  may "hold an employee .

          . . who  is an alcoholic to the  same qualification standards for

          employment or  job performance and  behavior [as it]  holds other

          employees, even if any  unsatisfactory performance or behavior is

          related to  the .  . .  alcoholism of  such employee  . .  . .").


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          Instead, he maintains that Raytheon's refusal to give him another
                                                                    _______

          chance,  by rehiring  him  on the  terms  he proposed,  including
          ______

          random alcohol testing, violated the ADA.

                    Flynn  seems to  contend  that  Raytheon  conditionally

          agreed  to   rehire  him   subject  to  evidence   of  successful

          rehabilitation.   He  relies on  a statement  made by  a Raytheon

          representative during  the union  grievance proceeding that  took

          place following  his  firing and  his  completion of  the  fourth

          inpatient treatment program.   Flynn states that he was  told "it

          was too soon for [him to  return to work, and if [he received]  a

          paycheck [he would] just  . . .  go out and get drunk again."  At

          the  same time, according  to Flynn, he  was told that  "once [he

          had]  proved  [him]self  then  things  could  happen."  (emphasis
                                   ____          _____

          added).   He  maintains  that these  representations generated  a

          trialworthy issue as to  whether Raytheon would have rehired  him

          if it believed he was or could be rehabilitated.  

                    The district court  correctly concluded that Flynn  did

          not  generate a trialworthy issue  of material fact.   First, the

          language Flynn attributes to the Raytheon representative    "once

          [Flynn  had]  proved  [him]self  then things  could  happen."    
                                           ____         _____

          constituted  neither a promise that "things  would happen" if and
                                                       _____

          when  he proved himself, nor  an evaluative assessment that Flynn

          had yet proven himself, especially in the extant temporal context

          described by  the same Raytheon representative; viz., "it was too
                                                          ____

          soon for [Flynn to return to work and if [he received] a paycheck

          [he would]  just .  . . go  out and get  drunk again."   Although


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          Flynn plainly would  prefer the cart  before the horse,  Raytheon

          acceded to no such arrangement.         Even     assuming     the

          language relied upon were subject to the interpretation  urged by

          Flynn, however, it would not give rise to an ADA  claim.  Flynn's

          contention confuses  a conditional  promise to consider  a future
                                                         ________    ______

          request to  rehire with a putative ADA-based obligation to rehire
                                                       __________

          at present.   The ADA does  not require an  employer to rehire  a
             _______

          former  employee   who  was  lawfully  discharged   for  repeated

          disability-related   failures   to   meet  its   legitimate   job

          requirements; viz., punctuality  and sobriety.   See 42 U.S.C.   
                        ___                                ___

          12114(c); see  also Siefken v.  Village of Arlington  Heights, 65
                    ___  ____ _______     _____________________________

          F.3d 664, 666 (7th Cir. 1995) ("A  second chance . . . is not  an

          accommodation,  as envisioned  in the ADA.")  (internal quotation

          marks  omitted) (rejecting ADA  claim by  employee who  failed to

          monitor  his diabetes  despite employer's  legitimate expectation

          that  he would  do  so).   As the  Seventh  Circuit explained  in

          Siefken, since  the discharged  employee was not  asking for  any
          _______

          "accommodation" within  the contemplation of the  ADA, but simply

          "another   chance  to   allow  him   to  change   his  monitoring
                                         ___

          technique[,]"  the ADA did not require the employer to afford him

          another chance.  Id. at 666-67.  
                           ___

                    Finally, Flynn  cites no  authority for the  claim that

          the  ADA entitles  him to  a "second  chance" to  meet Raytheon's

          legitimate  work  requirements, see  id.,  nor  for claiming,  if
                                          ___  ___

          indeed he does, that a conditional promise to reconsider based on

          a  future rehiring request  gave rise to  an actionable ADA-based


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          claim, cf.  Myers  v. Hose,  50  F.3d 278,  283  (4th Cir.  1995)
                 __   _____     ____

          ("qualified individual  with a disability" requirement  under ADA

          does  not refer to "an individual's future ability to perform the
                                              ______

          essential functions of his position," only to his present ability
                                                            _______

          to do so).  Accordingly, even assuming  the statements attributed

          to Raytheon were made, as we must at summary  judgment, McCabe v.
                                                                  ______

          Life-Line  Ambulance  Serv., Inc.,  77  F.3d 540,  544  (1st Cir.
          _________________________________

          1996), petition for cert.  filed, 64 U.S.L.W. 3808 (U.S.  May 29,
                 ________ ___ ____   _____

          1996) (No. 95-1929), Flynn has  not demonstrated a colorable ADA-

          based right to rehiring.  See Siefken, 65 F.3d at 666-67.
                                    ___ _______

                    The district court judgment is affirmed.
                    The district court judgment is affirmed
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